         Case 7:23-cv-08089-PMH Document 21 Filed 07/02/24 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 REGINA LEWIS,

                           Plaintiff,
                                                                ORDER
                    -against-
                                                                23-CV-08089 (PMH)
 STATE FARM, et al.

                           Defendants.

PHILIP M. HALPERN, United States District Judge:

       On June 28, 2024, the Court received a number of ex parte e-mails from plaintiff addressed

to both Judge Halpern and Chief Judge Swain concerning a variety of issues in this action and

attaching documents and photographs. Plaintiff is reminded of the following:

           •   E-mails to Chambers are not permitted unless a party has received prior

               authorization

           •   If Plaintiff wants the Court to consider any document, she must follow the

               procedure for pro se filings, available at https://nysd.uscourts.gov/prose

           •   The Court may and does disregard any and all unauthorized submissions

       The Clerk of Court is respectfully requested to mail a copy of this Order to plaintiff.

SO ORDERED:

Dated: White Plains, New York
       July 1, 2024


                                             ____________________________
                                             Philip M. Halpern
                                             United States District Judge
